
PER CURIAM.
We review State v. Evans, 537 So.2d 639 (Fla. 2d DCA 1988), in which the Second District Court of Appeal certified the same questions as certified in Hunter v. State, 531 So.2d 239 (Fla. 4th DCA 1988), as being of great public importance: *
Does an agreement whereby a convicted drug trafficker will receive a substantially reduced sentence in exchange for setting up new drug deals and testifying for the state violate the holding in State v. Glosson [, 462 So.2d 1082 (Fla.1985)]? Assuming the existence of a due process violation under Glosson, does Glosson ’s holding extend to a codefendant who was not the direct target of the government’s agent?
Hunter, 531 So.2d at 290 n. 3. We recently addressed these issues in State v. Hunter, 586 So.2d 319 (Fla.1991), and accordingly, we vacate the judgment below and remand this case to the district court for reconsideration in light of Hunter.
It is so ordered.
SHAW, C.J., and OVERTON, McDonald, barkett, grimes, KOGAN and HARDING, JJ., concur.

 We have jurisdiction pursuant to article V, section 3(b)(4) of the Florida Constitution.

